              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                CIVIL CASE NO. 1:12-cv-00125-MR
             (CRIMINAL CASE NO. 1:09-cr-00013-MR-9)



YVONNE MARIE FOUNTAIN,           )
                                 )
                   Petitioner,   )
                                 )
     vs.                         )                      ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
                   Respondent.   )
________________________________ )


      THIS MATTER is before the Court on the Order of the Court of Appeals

for the Fourth Circuit remanding this matter [Doc. 34] and the Government’s

Motion for an Evidentiary Hearing [Doc. 35].

      In light of the Fourth Circuit’s remand order, and for the reasons stated

in the Government’s motion, the Court will vacate its earlier judgment

dismissing the Petitioner’s motion to vacate and will schedule an evidentiary

hearing to resolve the Petitioner’s ineffective of assistance claims related to

her trial counsel’s pre-plea advice, as well as his alleged conflict of interest.




   Case 1:09-cr-00013-MR-WCM      Document 789     Filed 10/22/15   Page 1 of 3
     IT IS, THEREFORE, ORDERED as follows:

     (1)   The Court’s Judgment dismissing Petitioner’s motion to vacate

           filed pursuant to 28 U.S.C. § 2255 is hereby VACATED;

     (2)   The Government’s Motion for an Evidentiary Hearing [Doc. 35] is

           GRANTED;

     (3)   This matter is hereby scheduled for an evidentiary hearing on

           December 21, 2015, at 9:00 a.m. at the United States

           Courthouse in Asheville, North Carolina;

     (4)   The Federal Defenders of Western North Carolina, Inc. shall

           provide counsel to the Petitioner for the evidentiary hearing; and

     (5)   The United States Marshal shall make arrangements to have the

           Petitioner transported from her place of incarceration to this

           District.   The United States Marshal shall ensure that the

           Petitioner arrives in this District sufficiently in advance of the

           hearing date so that she may be afforded adequate opportunity

           to confer with counsel in preparation for the hearing.

     The Clerk of Court is directed to provide a copy of this Order to the

Petitioner, the Federal Defenders of Western North Carolina, Inc., counsel

for the Government, the United States Marshals Service, and the Bureau of

Prisons.


                                     2

   Case 1:09-cr-00013-MR-WCM    Document 789    Filed 10/22/15   Page 2 of 3
  IT IS SO ORDERED.
                            Signed: October 22, 2015




                                    3

Case 1:09-cr-00013-MR-WCM    Document 789          Filed 10/22/15   Page 3 of 3
